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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA            :   Hon. Cathy L. Waldor

            v.                      :   Magistrate No. 18-7038 (CLW)

MELISSA REYNOLDS,                   :
 a/k/a “Melissa Shawn
 Reynolds-Herod,”                   :
 a/k/a “Melissa James”
GERMAINE KING,                      :
HENRY GRADY JAMES IV,
ARTHUR N. MARTIN, III               :
DANIEL K. DXRAMS,
   a/k/a “Daniel Kusi,”             :
   a/k/a “Danny D. Dxrams,”
   a/k/a “Randy N. Amoateng”        :



            PLEASE TAKE NOTICE that Craig Carpenito, United States Attorney

for the District of New Jersey, by Lakshmi Srinivasan Herman,

(Lakshmi.herman@USDOJ.gov), Assistant U.S. Attorney, is appearing for the

United States of America in the above-captioned matter.


                                        CRAIG CARPENITO
                                        United States Attorney

                                        /s/ Lakshmi Srinivasan Herman

                                    By: Lakshmi Srinivasan Herman
                                        Assistant U.S. Attorney

Dated: November 15, 2018
